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           Exhibit P-4
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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

____________________________________
                                    :
SUSAN BYRNE,                        :           C.A. NO. 3:17-CV-01104 (VLB)
           Plaintiff                :
v.                                  :
                                    :
YALE UNIVERSITY,                    :
           Defendant                :           DECEMBER 30, 2019
___________________________________ :


                     Plaintiff’s Proposed Voir Dire Questions
      Plaintiff submits the following proposed voir dire questions at this time.

Plaintiff anticipates supplementing this list with additional questions in advance

of jury selection as permitted by the Court’s Joint Trial Memorandum

instructions.

Knowledge of the Parties
   1. Do you know the Plaintiff, Susan Byrne? If so, how do you know her?

   2. I’m going to read a list of names of people who may be called as witnesses

      in this case. While we expect that not all of these potential witnesses will

      testify in this trial, we need to learn from you if you know any of them. Do

      you think you know anyone on this list? How do you know that person?

   3. The defendant is Yale University. Have you, your spouse, or any members

      of your immediate family or anyone you know ever been employed by

      Yale?

   4. If the answer is Yes, what kind of work did/does that person do? Where?

   5. Has that person ever expressed any opinion or otherwise said anything

      about that employment? If so, what did he/she say?

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  6. Claire Howard, Jacques Parenteau and Magdalena Wiktor of the law firm of

     Madsen, Prestley & Parenteau, LLC represent the plaintiff in this case. Is

     anyone here related to or acquainted with these attorneys or this firm, or

     does anyone have a family member or close friend employed by this law

     firm?

  7. Have you ever been represented by Ms. Howard, Mr. Parenteau, or Ms.

     Wiktor or by Madsen, Prestley & Parenteau, LLC?

  8. Victoria Chavey and David Salazar-Austin of the firm Jackson Lewis

     represent the defendant in this case. Are you related to or acquainted with

     them or does anyone have a family member or close friend employed by

     Jackson Lewis?

General Questions
  9. Where do you currently work?

  10. What position do you currently hold?

  11. Have you ever been fired from a job?

  12. What obligation does an employer owe to an employee when making a

     decision to terminate employment?

  13. Is it permissible to question an employer’s decision to terminate an

     employee?

  14. Have you personally ever experienced unfairness or retaliation in the

     workplace?

  15. Have you ever made a complaint alleging wrongdoing by your employer,

     either formal or informal? If yes, what was the complaint?



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   16. Have you ever been sued in court in any case? Have you ever been

      involved in a case in any way?

   17. If yes, what type of case as it? Were you the plaintiff or the defendant? Who

      was the other party in the lawsuit?

   18. How was the case resolved?

   19. Do you have any opinion about people who bring lawsuits to challenge

      what they believe is a wrongful termination? If yes, what is your opinion?

   20. Do you have any opinions about the lawyers who represent people who

      bring lawsuits to challenge what they believe is a wrongful termination? If

      yes, what is your opinion?

Jury Service
   21. Do you want to serve on this jury? Why?

   22. Have you ever served on a jury before?

   23. When?

   24. What type of case?

   25. Have you deliberated and reached a verdict?

   26. Have you ever been a witness in any lawsuit or other proceeding? If yes,

      explain

Ability to Sit As a Fair and Impartial Juror in this Case
   27. Do any of you have a physical condition that would make it difficult for you

      to sit as a juror in this case, such as a hearing loss or a need to take

      medication?

   28. Do any of you have difficulty understanding or reading the English

      language such that it would be difficult for you to sit on this case?

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29. Is there a reason that would prevent you from serving as a fair and

   impartial juror in this case?



                                                Respectfully submitted,



                                   By:           /s/ Claire M. Howard
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